     Case 19-02122-5-SWH                   Doc 9 Filed 05/09/19 Entered 05/09/19 14:20:30      Page 1 of 1
VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/02/2018

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                            Raleigh Division

IN RE:
Danielle Washington                                                 CASE NO.: 19−02122−5−SWH
( debtor has no known aliases )
5316 Marthonna Way                                                  DATE FILED: May 9, 2019
Raleigh, NC 27616
                                                                    CHAPTER: 7




                                                        DEFICIENCY NOTICE

To: Danielle Washington
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed

The Certificate of Completion of pre−petition Credit Counseling Course must be filed by May 23, 2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: May 9, 2019


                                                                   Deputy Clerk
